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 1   DANIEL BOGDEN
     United States Attorney
 2   MICHAEL CHU
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South, Suite 5000
     Las Vegas, Nevada 89101
 4   Telephone: (702) 388-6336

 5
                                  UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                      )   Case No. 2:10-CR-578-PMP-RJJ
 8                                                  )
                     Plaintiff,                     )
 9                                                  )   STIPULATION FOR
     v.                                             )   PROTECTIVE ORDER
10                                                  )
     LINDA LIVOLSI,                                 )
11                                                  )
                     Defendant.                     )
12                                                  )

13            IT IS HEREBY STIPULATED AND AGREED between the undersigned attorneys, that

14   this Court issue an Order protecting from disclosure to the public any discovery documents

15   containing the personal identifying information such as social security numbers, drivers license

16   numbers, dates of birth, or addresses, of victims and co-defendants in this case. Such documents

17   shall be referred to hereinafter as “Protected Documents.” The parties state as follows:

18            1.    Protected Documents which will be used by the United States in its case in chief

19   include personal identifiers, including social security numbers, drivers license numbers, dates of

20   birth, and addresses, of the victims or co-defendants in this case. In addition, many of these

21   documents may include personal identifiers that defendant may choose to use as evidence in this

22   case.

23            2.    The United States agrees to provide Protected Documents without redacting the

24   personal identifiers of victims, with the possible exception of 302 reports, memoranda of

25   interview and tax records that it reserves the right to produce in redacted form.

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 1            3.    Access to Protected Documents by defendant will be restricted to personnel

 2   authorized by the Court, namely defendant, attorneys of record and attorneys, paralegals,

 3   investigators, experts, and secretaries employed by the attorneys of record and performing services

 4   on behalf of defendant. As such, the following restrictions will be placed on defendant,

 5   defendant’s attorney and the above-designated individuals unless and until further ordered by the

 6   Court. Defendant, defendant’s attorney and the above-designated individuals shall not:

 7                  a.      make copies for, or allow copies of any kind to be made by any other

 8   person of Protected Documents, or allow the Protected Documents to be otherwise disseminated;

 9                  b.      allow any other person to read Protected Documents; and

10                  c.      use Protected Documents for any other purpose other than preparing to

11   defend against the charges in the Indictment or any further superseding indictment arising out of

12   this case.

13            4.    Defendant shall not retain any copies of the Protected Documents. If defendant

14   creates any notes that contain any personal identifiers received from the Protected Documents,

15   then defendant’s attorney shall retain such notes for defendant.

16            5.    Defendant’s attorney shall inform any person to whom disclosure may be made

17   pursuant to this order of the existence and terms of this Court’s order.

18            6.    The requested restrictions shall not restrict the use or introduction as evidence of

19   discovery documents containing personal identifying information such as social security numbers,

20   drivers license numbers, dates of birth, and addresses during the trial of this matter.

21            7.    Upon conclusion of this litigation, defendant’s attorney shall return to counsel for

22   the United States, or destroy and certify to counsel for the United States, the destruction of all

23   //

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 1   discovery documents containing personal identifying information such as social security numbers,

 2   drivers license numbers, dates of birth, and addresses within a reasonable time, not to exceed

 3   thirty days after defendant has exhausted all appellate rights.

 4

 5   DANIEL BOGDEN
     United States Attorney
 6
     /s/                                                           2/2/11
 7   _________________________                                     _______________
     MICHAEL CHU                                                   DATE
 8   Assistant U.S. Attorney

 9
     /s/                                                           1/27/11
10   _________________________                                     ________________
     MATTHEW DUSHOFF                                               DATE
11   Counsel for defendant Linda Livolsi

12

13                                                 ORDER

14            IT IS SO ORDERED this _____ day of ____________________________ 2011.

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16                                                         ____________________________________
                                                           UNITED STATES DISTRICT JUDGE
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